       Case 1:22-cr-00015-APM          Document 332        Filed 09/21/22     Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 22-cr-15-APM
                                             :
ELMER STEWART RHODES III,                    :
KELLY MEGGS,                                 :
KENNETH HARRELSON,                           :
JESSICA WATKINS,                             :
ROBERTO MINUTA,                              :
JOSEPH HACKETT,                              :
DAVID MOERSCHEL,                             :
THOMAS CALDWELL, and                         :
EDWARD VALLEJO,                              :
                                             :
                      Defendants.            :


 GOVERNMENT’S MOTION FOR A PROTECTIVE ORDER PERTAINING TO THE
       TRIAL TESTIMONY OF CONFIDENTIAL HUMAN SOURCES

       The United States respectfully submits this motion for a protective order to protect from

disclosure information regarding ongoing investigations related to certain Federal Bureau of

Investigations (“FBI”) Confidential Human Sources (“CHSes”) who are expected to testify at trial

and personal identifying information related to those CHSes.

                                  Protective Measures Sought

       At trial, the government or defense may call to testify certain CHSes who were either

involved in the investigation that led to prosecution of the defendants, or who became CHSes

subsequent to the initiation of the instant investigation. By this motion, the government seeks to

preclude defendants from eliciting, either on cross-examination or on direct, information regarding

any other investigations the CHSes may be involved in. Details regarding other investigations are

not relevant and could undermine the operational integrity of those investigations. Additionally,
       Case 1:22-cr-00015-APM           Document 332       Filed 09/21/22      Page 2 of 4




the government seeks to preclude questions that may illicit information that would allow for

CHSes to be easily located by the general-public. The provisions requested are narrowly tailored

and would not impede defendants’ ability to meaningfully elicit testimony at trial. Specifically,

the government seeks the following measures:

        1.     The defense shall be prohibited from asking any questions seeking personal
identifying information from the witnesses, specifically, their address or date of birth;

       2.      Apart from the instant investigation, the defense shall be prohibited from asking
any questions about the witnesses’ participation in past or pending investigations or undercover
operations; and

       3.     The defense shall be precluded from eliciting testimony, either on cross-
examination or on direct, that would detail the FBI’s CHS program and the training and methods
used by the FBI as part of their undercover operations.


                                              Argument

          Protecting witnesses’ safety and the integrity of ongoing investigations are compelling

interests that courts have long recognized. That precedent readily justifies the reasonable security

measures proposed here. The Confrontation Clause of the Sixth Amendment gives a defendant

the right to confront and cross-examine the government’s witnesses who testify against the

defendant. See Maryland v. Craig, 497 U.S. 836, 846 (1990); Smith v. Illinois, 390 U.S. 129

(1968).     The “elements of confrontation—physical presence, oath, cross-examination, and

observation of demeanor by the trier or fact—serves the purposes of the Confrontation Clause by

ensuring that evidence admitted against an accused is reliable and subject to rigorous adversarial

testing that is the norm of Anglo-American criminal proceedings.” Craig, 497 U.S. at 846. “The

rule is that once cross-examination reveals sufficient information to appraise the witnesses’

veracity, confrontation demands are satisfied.” United States v. Falsia, 724 F.2d 1339, 1343 (9th

Cir. 1983).


                                                 2
       Case 1:22-cr-00015-APM           Document 332        Filed 09/21/22     Page 3 of 4




       As the Supreme Court recognized in Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986),

“trial judges retain wide latitude insofar as the Confrontation Clause is concerned to impose

reasonable limits on such cross-examination based on concerns about, among other things,

harassment, prejudice, confusion of the issues, the witness’s safety, or interrogation that is

repetitive or only marginally relevant.” See also United States v. Palermo, 410 F.2d 468, 472 (7th

Cir. 1969) (citing United States v. Varelli, 407 F.2d 735 (7th Cir. 1969)); see also Siegfriedt v.

Fair, 982 F.2d 14, 18 (1st Cir. 1992); United States v. Contreras, 602 F.2d 1237, 1239-40 (5th Cir.

1979) (where there was reasonable fear the disclosure of DEA agent’s home address and

frequented locations would endanger him and his family, no error in precluding cross-examination

as to home address and other background information even though agent was “instrumental in

defendant’s arrest”); United States v. Maso, 2007 WL 3121986, *4 (11th Cir. Oct. 26, 2007) (per

curiam) (unpublished) (“The district court did not violate [the defendant’s] right to confront

witnesses by allowing the [cooperating witness] to testify using a pseudonym.”); Brown v.

Kuhlman, 142 F.3d 529, 532 n.3 (2d Cir. 1998) (undercover detective who testified in closed

courtroom due to safety concerns was permitted to testify using his badge number instead of his

true name). The protections requested herein, while minimally restrictive, would ensure the

integrity of any ongoing investigations and would reduce the security threat posed to any testifying

CHSes.

                                            Conclusion

       The government requests that the Court grant the government’s motion for a protective

order and adopt the government’s proposed protective measures to assure the integrity of other

undercover investigations and the safety of the witnesses at trial.




                                                 3
Case 1:22-cr-00015-APM   Document 332     Filed 09/21/22     Page 4 of 4




                             Respectfully submitted,

                             MATTHEW M. GRAVES
                             United States Attorney
                             DC Bar No. 481052

                                /s/
                             Kathryn L. Rakoczy
                             Assistant United States Attorney
                             D.C. Bar No. 994559
                             Ahmed M. Baset
                             Troy A. Edwards, Jr.
                             Jeffrey S. Nestler
                             Assistant United States Attorneys
                             Louis Manzo
                             Special Assistant United States Attorney
                             U.S. Attorney’s Office for the District of Columbia
                             555 4th Street, N.W.
                             Washington, D.C. 20530

                                 /s/
                             Alexandra Hughes
                             Justin Sher
                             Trial Attorneys
                             National Security Division
                             United States Department of Justice
                             950 Pennsylvania Avenue
                             NW Washington, D.C. 20004




                                4
